     CASE 0:02-cr-00082-JMR-FLN Document 139 Filed 07/31/06 Page 1 of 9



                     UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                           02-CR-82(JMR/FLN)
                            06-CV-1397(JMR)

United States of America                )
                                        )
            v.                          )     ORDER
                                        )
Tyrone Powell Crawford                  )



      Tyrone Powell Crawford, appearing pro se, petitions the Court

pursuant to 28 U.S.C. § 2255 to vacate, set aside, or correct his

sentence.    For the following reasons, his motion is denied.

I.   Background

      On October 15, 2002, petitioner entered a “straight plea” of

guilty to an indictment charging him with mail fraud, wire fraud,

money laundering, and two counts of forged securities violation.

His plea was considered a straight plea because he did not have a

plea agreement.      On February 19, 2004, he was sentenced to 120

months imprisonment for these crimes.         He appealed his sentence,

challenging the district court’s findings regarding sentencing

enhancements based on the United States Supreme Court decision in

Blakely v. Washington, 542 U.S. 296 (2004).           The Eighth Circuit

Court of Appeals reviewed petitioner’s sentence for plain error

under United States v. Booker, 543 U.S. 220 (2005), and affirmed

the district court ruling holding that he had not demonstrated a

reasonable probability he would have received a more favorable

sentence under an advisory guideline regime.            United States v.

Crawford, 414 F.3d 980 (8th Cir. 2005).
      CASE 0:02-cr-00082-JMR-FLN Document 139 Filed 07/31/06 Page 2 of 9



II.    Discussion

       Petitioner now seeks relief claiming ineffective assistance of

counsel.     According to Mr. Crawford, his appellate counsel was

ineffective for failing to argue that the Court violated Rule 11 of

the Federal Rules of Criminal Procedure (“Fed. R. Crim. P.”); that

his plea was involuntary; and that the Court improperly calculated

his sentence under the Guidelines.                 All three arguments fail.

       To prevail on a claim of ineffective assistance of counsel,

petitioner must show both that counsel’s performance was deficient,

and that he suffered actual prejudice as a result.                      Strickland v.

Washington,     466      U.S.    668,    687      (1984).        Prejudice    means    “a

reasonable probability that, but for counsel’s unprofessional

errors, the result of the proceeding would have been different.                        A

reasonable probability is a probability sufficient to undermine

confidence in the outcome.”                  Id. at 694.         The Court “need not

address the competency of counsel’s performance if the prejudice

issue is dispositive.” Blankenship v. United States, 159 F.3d 336,

338 (8th Cir. 1998).

       Counsel’s    performance         is    reviewed      with   deference    on    the

presumption that the representation was competent, and that the

challenged     decisions        were     counsel’s        strategic     and    tactical

decisions.     Strickland, 466 U.S. at 689.                 Counsel’s decisions are

presumed reasonable, and “strategic choices made after thorough

investigation       of     law     and       facts    .      .     .   are    virtually


                                              2
     CASE 0:02-cr-00082-JMR-FLN Document 139 Filed 07/31/06 Page 3 of 9



unchallengeable[.]”        Id. at 690.

      Appellate counsel “does not have a duty to raise every

nonfrivolous claim on appeal,” Reese v. Delo, 94 F.3d 1177, 1185

(8th Cir. 1996), and indeed, is afforded discretion to abandon

losing issues. Horne v. Trickey, 895 F.2d 497, 500 (8th Cir. 1990).

To   establish       ineffective   assistance,      petitioner   must    show   a

reasonable likelihood that, but for the attorney’s error, the

result on appeal would have been different. Blackmon v. White, 825

F.2d 1263, 1265 (8th Cir. 1987).                 Here, each issue petitioner

advances   is    a    losing   one.   As     a    result,   counsel’s   decision

declining to raise them on appeal cannot have been prejudicial to

petitioner’s cause.        The decisions, therefore, do not amount to

constitutionally ineffective assistance.

      A.   Fed. R. Crim. P. 11

      Petitioner suggests his attorney’s assistance was ineffective

for failing to appeal a Rule 11 violation.              In the absence of any

Rule 11 violation, however, this claim cannot succeed.

      Petitioner claims the Court violated Rule 11 by impermissibly

entering into plea negotiations with him.                   The record flatly

contradicts this claim, and lends no support whatsoever for this

frivolous assertion.           There were no plea negotiations at all

between petitioner and either the government or the Court.                  The

petitioner’s plea was entered immediately before trial, and it was

a plea “straight-up,” without any plea agreement. (Plea Tr. at 10,


                                         3
      CASE 0:02-cr-00082-JMR-FLN Document 139 Filed 07/31/06 Page 4 of 9



14.) The Court carefully outlined possible sentences based on what

was known at the time, while simultaneously reminding petitioner

that information to be developed subsequently – and later judicial

decisions – would set the ultimate sentence.            There was no Rule 11

violation.       The    Court   could   not    have   participated      in   plea

negotiations because there were none prior to petitioner’s straight

plea of guilty.

       Because there was no Rule 11 violation, petitioner’s counsel

was not ineffective for failing to raise it on appeal.

       B.   Involuntary Plea

       Petitioner      claims   his   plea    was   involuntary    --   another

allegation without support in the record.              The Court explicitly

advised petitioner he did not have to plead guilty.               (Plea Tr. at

8.)    Petitioner also acknowledged he had a long standing desire to

plead guilty.     (Petitioner’s Motion at 9; see also Plea Tr. at 6,

11; Sent. Tr., May 8, 2003, at 4, 6.)

       Petitioner now contrives a suggestion that his plea was

involuntary because he relied on misinformation from the Court

about his possible sentence. He unsuccessfully attempts to cut and

stitch snippets of the plea colloquy to sew this assertion out of

a whole cloth.         A fair reading of the record shows the Court’s

statements, and petitioner’s clear understanding, that his final

Sentencing Guidelines range was uncertain and subject to change.

       A defendant who pleads guilty has no right to be apprised of


                                        4
    CASE 0:02-cr-00082-JMR-FLN Document 139 Filed 07/31/06 Page 5 of 9



the sentencing options outside the statutory maximum and minimum

sentences.    United States v. Granados, 168 F.3d 343, 345 (8th Cir.

1999).     If a defendant was informed of his maximum possible

sentence     under   the   statute       before   pleading   guilty,     any

misimpression about the applicable Guidelines range or sentence

will not make his plea involuntary. Roberson v. United States, 901

F.2d 1475, 1478 (8th Cir. 1990).         This is precisely what occurred

here, and as a result, petitioner’s plea was not involuntary.

     At the plea hearing, the Court explained to petitioner the

maximum possible sentences under each of the five counts.              (Plea

Tr. at 16.)    Both Court and counsel made sure he understood that

his final Sentencing Guidelines calculations could change based on

new information about his criminal history or the nature of the

offense.     (Id. at 14-22.)      The Court calculated petitioner’s

Guideline sentence range to be 24-30 months, but made clear that

the calculation was based on the information then available.           (Id.

at 17-21.)    The Court asked him whether he understood that if the

Court’s assumptions were wrong -- for example, if the amount of

stolen money was different -- the sentence calculations might

change.    (Id. at 21.)    Petitioner indicated that he understood.

(Id.)     When the Court asked, “you understand that I will not, and

cannot, guarantee the sentence?” petitioner responded “yes.”           (Id.

at 21-22.)




                                     5
    CASE 0:02-cr-00082-JMR-FLN Document 139 Filed 07/31/06 Page 6 of 9



        Petitioner’s   counsel     further    inquired     as    to   whether   he

understood what his sentence might be and that it could change.

(Id. at 19-20.)     Counsel also indicated that he and petitioner had

discussed the possible sentences petitioner might face, and asked

whether he had any questions about what the Court or counsel had

said.     Petitioner replied “No.”      (Id.)

        Because the argument that petitioner’s plea was involuntary is

wholly without merit, his counsel was not ineffective for failing

to raise that argument on appeal.

        C.   Misapplication of Sentencing Guidelines

        Petitioner now contends his counsel should have appealed two

Sentencing     Guidelines    issues.         First,   he   claims     the   Court

impermissibly double counted his failure to return the $100,000

cash which was a major object of his fraudulent acts.                 Second, he

believes     he   should    have   received     credit     for   acceptance     of

responsibility.     Both arguments are meritless.

        Count 3 of petitioner’s Superseding Indictment charged him

with money laundering, alleging that on February 7, 2002, he

withdrew $100,000 from a bank to conceal its location.                  This was

one of the counts to which petitioner entered a straight plea.                  At

sentencing, the Court applied Sentencing Guideline 3C1.1, awarding

two additional points for obstruction of justice because defendant

failed to return the $100,000.

        The obstruction of justice enhancement was entirely separate


                                       6
    CASE 0:02-cr-00082-JMR-FLN Document 139 Filed 07/31/06 Page 7 of 9



from the criminal conduct charged in Count 3. Petitioner committed

and completed the crime when he engaged in money laundering by

fraudulently obtaining $100,000 in cash from the bank.           This act

subjected him to the original penalty without the enhancement.

     The Court imposed an enhancement for obstruction of justice

because of his behavior subsequent to the original crime.                His

obstruction of justice took place when, facing apprehension, he

concealed the stolen funds and falsely claimed the money had been

subsequently stolen from him.      Petitioner continued to claim the

funds were purloined from him, and has lied and continued to make

misrepresentations to conceal the whereabouts of the cash from law

enforcement, the victims, and the Court.       He lied twice under oath

about the location of the money -- once at his co-defendant’s trial

(see Florez Trial Tr., Oct. 17, 2002, at 118-124), and once at his

own sentencing.    He continued to conceal the $100,000 up to the

moment of sentencing. (Sent. Tr., May 8, 2003, at 13-14.) Indeed,

the Court expressed at the time of sentencing, and still is of a

mind, that his obstruction continues to this date.              When the

petitioner concludes his jail term, the Court has no doubt he will

reclaim his stolen funds and bask in his success.

     This behavior, as to which the Court expressed its belief at

the time of sentencing as well as in this Order, is a knowing,

willful obstruction of justice.         It compounds the crime he has

committed by depriving his victims of their funds and subjecting


                                    7
    CASE 0:02-cr-00082-JMR-FLN Document 139 Filed 07/31/06 Page 8 of 9



the victim’s insurer to a liability which could and should have

been avoided.      Under these circumstances, the obstruction of

justice enhancement was fully appropriate.          As a result, counsel’s

failure to raise it on appeal was not ineffective.

     Petitioner further argues that he should have received an

adjustment for acceptance of responsibility.          This argument fails.

Petitioner is not entitled to a reduction for acceptance of

responsibility simply because he pleaded guilty or because he

recites “the appropriate litany of remorse.”              United States v.

Mohamed, 161 F.3d 1132, 1136 (8th Cir. 1998). Whether the reduction

was appropriately denied is a factual question that turns on the

Court’s credibility assessments.         Id.        The recitation of his

continuing criminality, set forth above, scarcely indicates the

petitioner’s acceptance of responsibility for his wrongful acts.

     As the record reveals, the Court found petitioner’s continued

concealment   of   the   stolen   $100,000     to   be   inconsistent   with

acceptance of responsibility.       (Sent. Tr. at 16-17.)         The Court

specifically found petitioner’s testimony about the location of the

money to be incredible.        (Id. at 13-14.)           This determination

receives great deference, and is reviewed only for clear error.

Mohamed, 161 F.3d at 1136.        Accordingly, the Court’s denial of

acceptance of responsibility was a losing issue on appeal, and

counsel was not ineffective for failing to raise it.           Petitioner’s

motion under 28 U.S.C. § 2255 must be denied.


                                    8
     CASE 0:02-cr-00082-JMR-FLN Document 139 Filed 07/31/06 Page 9 of 9



        The Court has considered whether issuance of a Certificate of

Appealability (“COA”) is appropriate.          See Tiedeman v. Benson, 122

F.3d 518, 522 (8th Cir. 1997).         Having done so, it is clear that no

issue    raised   in   this   motion    is   “debatable   among   reasonable

jurists.”     Flieger v. Delo, 16 F.3d 878, 882-83 (8th Cir. 1994)

(citation omitted).       Petitioner has not made the “substantial

showing of the denial of a constitutional right” necessary for the

issuance of a COA.      28 U.S.C. § 2253(c)(2).

III.     Conclusion

        For the foregoing reasons, Mr. Crawford’s petition is denied.

Accordingly, IT IS ORDERED that:

1.      Mr. Crawford’s motion for relief pursuant to 28 U.S.C. § 2255

        is denied with prejudice. [Docket No. 130.]

2.      No Certificate of Appealability shall issue.

        LET JUDGMENT BE ENTERED ACCORDINGLY.

Dated: July 31, 2006




                                   s/ JAMES M. ROSENBAUM
                                   JAMES M. ROSENBAUM
                                   United States Chief District Judge




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